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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

LILLIAN HURTADO, Individually,
HELEN LAURA LOPEZ, as Personal Representative
of the Wrongful Death Estate of VICTORIA VAUGHT, Deceased;
DANIEL VAUGHT, Individually;
TODD LOPEZ, as Personal Representative
of the Wrongful Death Estate of MARIAH HURTADO,
KRISTINA MARTINEZ as Personal Representative
of the Wrongful Death Estate of TINA HURTADO;
JASON HURTADO, Individually and as Next Friend of
E.H. and K.L., minors; and SHIVAUN CARTER, Individually;

Plaintiffs,

v.                                                                 No. 1:22-cv-00599-KG-JFR

                                                                   Removed from the District
                                                                   Court of Santa Fe County,
                                                                   State of New Mexico,
                                                                   D-101-CV-2022-01147

AM TRANSPORT SERVICES, INC., LARIE APARICIO,
AMT LEASING, INC., MAURICIO MARQUEZ, and
FNF CONSTRUCTION INC., and
ROADSAFE TRAFFIC SYSTEMS, INC., Individually and
as successor-in interest to HIGHWAY SUPPLY COMPANY,
INC., a/k/a HIGHWAY SUPPLY, LLC, and
NOMOREHS, LCC, f/k/a Highway Supply, LLC

Defendants.

                               FINAL SCHEDULING ORDER

        This case shall be tried beginning December 8, 2025, in Albuquerque, New Mexico at

9:00 a.m. Counsel shall be in the courtroom no later than 8:30 a.m. and be prepared to discuss

any matter that should be addressed outside the presence of the jury. The Court imposes the

following deadlines and procedures to be followed:

        1. EXPERT DISCLOSURES
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Plaintiffs have disclosed their expert witnesses pursuant to the previous February 15, 2025
deadline. Due to further discovery regarding vehicles, Plaintiffs shall disclose any
additional expert witnesses no later than April 20, 2025.

Defendants shall disclose their expert witnesses and the subject matter on which the experts will
present evidence, and a summary of the facts and opinions on which the experts are expected to
testify no later than April 20, 2025. At the time of their disclosures, Defendants shall
simultaneously offer two (2) deposition dates that each disclosed expert is available for
deposition. The dates offered shall be prior to May 20, 2025.

All parties shall have their experts ready to be deposed and provide available dates at the time
they identify them and produce their reports. FNF shall offer at least two deposition dates per
expert before May 20, 2025.

       2. DISCOVERY DEADLINE

Discovery must be propounded on or before July 1, 2025.

       3. MOTIONS RELATED TO DISCOVERY

Motions related to discovery, including Motions to Compel and motions regarding discovery
disputes, shall be filed no later than July 22, 2025.

       4. DISPOSITIVE AND DAUBERT MOTIONS

All dispositive motions and all motions relating to the admissibility of experts or expert
testimony that may require a Daubert hearing shall be filed no later than August 1, 2025.

       5. JUROR QUESTIONNAIRE

Parties shall exchange their proposed juror questionnaires on or before October 1, 2025 and
submit a Joint Agreed Upon Juror Questionnaire to the Court no later than October 8, 2025.
The parties are responsible for coordinating with the appropriate court personnel to effectuate the
dissemination of the questionnaire to the jury pool.

       6. MEDIATION
The parties shall engage in good faith mediation on or before October 8, 2025.

Due to the complexity of this case, the parties are ordered to secure a 2-day mediation in a place
and at a time that is mutually convenient and beneficial to all parties. The parties shall agree to a
private mediator. If the parties cannot agree, they shall immediately notify the Court and contact
the office of the Magistrate Judge to set a settlement conference.

All parties and a representative for each insurance entity having any possible exposure for
satisfying any judgement in this case shall be physically present at mediation. Each
representative shall have full authority to settle on behalf of the entity they represent.
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        7. DEPOSITION DESIGNATIONS

Plaintiffs shall provide Defendants with the page and line number of any deposition they may
use as evidence at trial by October 8, 2025.

Defendants shall provide Plaintiffs with the page and line number of any deposition they may
use as evidence at trial, including counter-designations to be played during their cross-
examination of designated witnesses, by October 22, 2025.

Objections to deposition designations shall be filed not later than October 31, 2025.

        8. MOTIONS IN LIMINE

Motions in limine shall be filed by all parties no later than October 15, 2025. Responses to
motions in limine filed on October 15, 2025, shall be filed no later than October 29, 2025.

Replies to motions in limine will not be entertained and shall not be filed.

        9. JURY INSTRUCTIONS, WITNESS LISTS, EXHIBIT LISTS

The parties shall submit jury instructions in accordance with D.N.M. LR-Cv- 5.1 and this Court’s
trial preparation materials (www.nmcourt.fed.us) on November 7, 2025. In addition to
electronically filing their submissions, the parties shall submit to the Court through the email
address (kjgproposedtext@nmcourt.fed.us) on the chambers web page for proposed orders, the
following (1) the set of mutually acceptable jury instructions and (2) a list of disputed jury
instructions.

The parties shall file their witness and exhibit lists with the Court on November 7, 2025. The
parties are strongly encouraged to stipulate to the exhibits wherever possible, particularly
regarding their authenticity. Plaintiffs’ stipulated exhibits shall be marked with yellow labels by
numbers and Defendants’ stipulate exhibits shall be marked by blue labels with letters (e.g.
A,B,C…AA, BB…). Stipulated exhibits shall be admitted prior to opening statement and used
by any party during trial.

        10. JOINT STATEMENT OF THE CASE & TRIAL BRIEFS

The parties shall submit a brief joint statement of the case and any trial briefs on November 25,
2025.
                                              /s/ KENNETH J. GONZALES1
                                              CHIEF UNITED STATES DISTRICT JUDGE




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filed documents can be found on the court’s PACER public access system.
